                              No. 2023-1805

      United States Court of Appeals
          for the Federal Circuit
                   ___________________________________________

                UNITED THERAPEUTICS CORPORATION,
                                 Appellant,
                                     – v. –

                   LIQUIDIA TECHNOLOGIES, INC.,
                                  Appellee.
                   ___________________________________________

     APPEAL FROM THE PATENT TRIAL & APPEAL BOARD
                     IPR2021-00406
                   ___________________________________________

              REPLY BRIEF OF APPELLANT
          UNITED THERAPEUTICS CORPORATION
                   ___________________________________________

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                   CERTIFICATE OF INTEREST

Counsel for Appellant certifies the following:
1.   The full name of every party represented by me is:
United Therapeutics Corporation.
2.   The name of the real party in interest (if the party named in
     the caption is not the real party in interest) represented by
     me is:
None.
3.   All parent corporations and any publicly held companies
     that own 10 percent or more of the stock of the party
     represented by me are:
BlackRock Inc., collectively through different BlackRock entities, may
own 10% or more of its stock.
4.   The names of all law firms and the partners or associates
     that appeared for the party now represented by me in the
     trial court or are expected to appear in this court (and who
     have not or will not enter an appearance in this case) are:
Foley & Lardner: Stephen B. Maebius, Michael Houston, George Quillin,
Jason N. Mock; McDermott Will & Emery: Judy Mohr, Ph.D., April E.
Weisbruch, Mandy Kim
5.   The title and number of any case known to me to be pending
     in this or any other court or agency that will directly affect
     or be directly affected by this Court’s decision in the
     pending appeal are:
United Therapeutics Corporation v. Liquidia Technologies, Inc., Nos.
2022-2217, 2023-1021 (Fed. Cir.); originating from United Therapeutics
Corporation v. Liquidia Technologies, Inc., 1-20-cv-755 (D. Del.)
6.   Any information required under Fed. R. App. P. 26.1(b)
     (organizational victims in criminal cases) and 26.1(c)
     (bankruptcy case debtors and trustees):
None.
Dated: November 2, 2023           /s/ Douglas H. Carsten
                                  Douglas H. Carsten



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Board ......................... Patent Trial and Appeal Board

DPI ............................. Dry powder inhaler

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Liquidia...................... Appellee Liquidia Technologies, Inc.

POR ............................ Patent Owner Response

RB .............................. Liquidia’s Response Red Brief

UTC............................ Appellant United Therapeutics Corporation




                                            v
                            INTRODUCTION

     The     Board’s     analyses   of   public    accessibility,    solution

dosing/delivery, and dry powder administration are legally flawed and

factually unsupported.      Liquidia defends the Board’s analyses by

habitually citing evidence that the Board did not credit or explicitly

rejected. Liquidia’s obfuscation only underscores the point: the Board’s

decision cannot stand.

     First, the Board erred in determining that the JAHA and JESC

journal supplements are prior art. JAHA and JESC have been moving

targets from the beginning: Liquidia argued in its Petition that these

references   were   publicly   accessible   via   publication   in   journal

supplements.    Based on flaws in this argument, the Board instead

adopted a “research aids” theory of public accessibility. But in response

to the Precedential Opinion Panel decision, the Board admitted error and

pivoted to a new theory: that never-seen, not-in-evidence “abstract books”

were distributed at conferences. That is the Board’s ultimate rationale

and what Liquidia must defend. But this rationale is unmoored to the

Petition and unsupported by substantial evidence.




                                     1
     Liquidia now argues that the abstracts were “presented at

conferences.”   But the Board relied on a distribution theory, not a

presentation theory.   Liquidia also obscures the distinction between

publication in the JAHA and JESC journal supplements (on which

Liquidia staked its Petition) and the supposed “abstract books” the Board

relied on. Even if the Board were permitted to stray from the Petition to

adopt new theories, speculation about what “would have” typically

occurred at conferences—that no declarant attended, relating to abstract

books that nobody has ever seen—is not substantial evidence.         The

Board’s choice of language, stating that the hypothetical abstract books

“would have been provided to attendees,” underscores the speculation

underpinning the Board’s decision.

     Second, hindsight infected the Board’s analysis of whether JESC

teaches the claimed delivered dose. Everyone agrees that JESC does not

expressly disclose any delivered dose. To fill that gap, the Board relied

on generic and conclusory assertions relating to starting “fill volumes”

and midpoint “nebulized” volumes—not final “delivered” doses.         To

defend the Board, Liquidia attempts to redefine “nebulize” to mean

“delivery.” RB18. But nebulized and delivered volumes are different,



                                     2
and nothing Liquidia argues addresses the Board’s failure to rely on

evidence explaining how one can be converted to the other.

     Moreover, neither the Board nor Liquidia addressed UTC’s

arguments of unexpected results relating to JESC and JAHA. At a

minimum, this mandates a remand for the Board to address the evidence

of unexpected results in the first instance.

     Finally, the Board erred in finding the dependent dry powder

claims obvious by failing to analyze the dependent claims as separate

inventions, including all their referenced limitations, and by failing to

examine the entire record. Indeed, the Board completely sidestepped Dr.

Gonda’s testimony concerning technical facts that contradict its decision.

Liquidia cries waiver, but that accusation ignores UTC’s dry powder

argument and extensive supporting evidence.

     Because the Board’s reasoning is legally flawed and unsupported

by substantial evidence, it must be reversed.




                                     3
                              ARGUMENT

     I.     The Board erred in determining that JAHA and JESC
            are prior art.

            A.   The Board erred by relying on a public
                 accessibility theory not raised in Liquidia’s
                 Petition.

     The Board determined that the JESC and JAHA journal

supplements were publicly accessible not because a POSA could access

those documents before the critical date, but because different “abstract

books” were “distributed” at conferences. But Liquidia’s Petition never

raised this theory.    Liquidia tries to circumvent this fundamental

problem, but attorney argument cannot change the facts.

     1. The statute cabins Liquidia: the scope of IPRs is limited to

challenges that are “identifie[d], in writing and with particularity” in the

petition.   35 U.S.C. § 312(a)(3).   Thus, Liquidia tries to equate the

“distribution” of “abstract books” with the argument made in its

Petition—public accessibility by publication of journal supplements. But

these theories are distinct and implicate different facts. The Board’s




                                     4
decision did not rely on Liquidia’s journal publication argument or even

presentation of the abstracts at conferences.1

     Liquidia elides these disparate prior art theories by arguing that

the Board “found” “[i]n its FWD” that JESC and JAHA were § 102(b) prior

art because they were “presented” at conferences (RB12) and further

“found” that this supposed “argument was made in Liquidia’s Petition.”

RB35.    Not so.    The Petition makes a different argument: that

JAHA/JESC were publicly available because they were “published” in

journal supplements. Although the Petition stated in passing that JESC

was “presented” at a conference, Liquidia offered none of the facts that

this Court reviews to determine public accessibility by presentation.

BB34.2   And Liquidia’s Petition made no reference to JAHA being




1 Liquidia now argues that “oral presentation” is “an issue not presented

here” (RB36), further obscuring what the Petition’s “presented” meant or
how it could preserve a distinct theory of document “distribution” with
sufficient particularity. BB30, 34.

2 Liquidia argues that its JAHA presentation theory is not “new” (RB11),

but most of the supporting citations are not to the Petition. RB11; 37
C.F.R. § 42.6(a)(3) (“[a]rguments must not be incorporated”). The only
citation to the Petition, Appx0135, states only that JAHA was
“published.”


                                    5
“presented” or “distributed” at the American Heart Association’s 2004

Scientific Sessions Conference. Id.

     Moreover, even if the Petition had raised a presentation argument,

the Board did not rely on it. The FWD contains no findings, analysis, or

conclusions relating to JESC/JAHA being “presented” at conferences.

Liquidia repeatedly cites Appx0009-Appx0010, but those two pages just

recite the parties’ competing arguments. The Board relied on only the

“research aid” theory that it later rejected as flawed following the POP

decision. Appx0011-Appx0012.

     Liquidia itself has acknowledged that distribution and presentation

are not the same. Before the Board, Liquidia correctly conceded that a

theory of whether a reference was “publicly presented” is “independent of

whether that presentation was further distributed.” Appx0470 (emphasis

added) (collecting cases). That is a damning admission. Even now,

Liquidia does not argue that it raised this totally new distribution-by-

abstract-book theory in its Petition. RB29 (arguing that the Petition

established only that “abstracts were printed in journals and presented

at conferences”).




                                      6
     Liquidia argues that Samsung Elecs. Co. v. Infobridge Pte. Ltd., 929

F.3d 1363, 1370 (Fed. Cir. 2019) is inapposite because Samsung never

argued that the reference was “presented or disseminated” at the

meetings. RB36. Liquidia misses the point. Samsung argued that a

reference was publicly accessible because it was discussed at meetings,

uploaded to websites, and emailed to a listserv. Samsung, 929 F.3d at

1369-70.   The Court held that Samsung waived its argument that

discussion at meetings created public accessibility because the argument

was not timely raised. Id. at 1370. The point is that the Court recognized

that Samsung’s different theories of public accessibility are distinct. As

Liquidia acknowledged, presentation and distribution are “independent”

theories, and the Petition’s use of the single word “presented” for JESC

does not preserve a theory of “distribution” for either JESC or JAHA.

Thus, like Samsung, Liquidia has forfeited this argument.

     2. Liquidia also tries to circumvent the Board’s error by conflating

the references it relied on in its Petition (journal supplements) with the

references the Board found publicly accessible (abstract books). The two

are meaningfully different as evinced by the Board pivoting from the

journal supplements to the abstract books in response to the POP



                                    7
decision. Liquidia’s response brief defines “JAHA” and “JESC” as the

supplemental journals of record: “Journal of the American Heart

Association” and “Journal of the European Society of Cardiology,”

RB(viii) (TOA), which is consistent with the exhibits that Liquidia

submitted as evidence below—scanned copies of journal supplements.

Journal supplements and abstract books are different.                 RB27

(acknowledging the asserted “journals” separately from the “abstract

books”). This distinction is important: the Board never saw or analyzed

the contents of the hypothetical, not-in-evidence “abstract books.”

     For this reason, much of the discussion in Liquidia’s response brief

is a red herring. Liquidia argues at length about “date-stamped copies of

the journals,” “publication by an established publisher,” “research aids,”

and that the journals were sufficiently “indexed and searchable.” RB32-

33. But the Board relied exclusively on the abstract books supposedly

distributed at conferences and expressly rejected other arguments, such

as the “research aids.” Liquidia cannot substitute a new rationale for the

Board’s. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002) (“review

of an administrative decision must be made on the grounds relied on by

the agency”) (quoting Burlington Truck Lines, Inc. v. U.S., 371 U.S. 156,



                                    8
168 (1962)) (declining to consider alternative grounds). This Court’s

precedent is clear: under the APA, “[o]ur review of a patentability

determination is confined to the grounds upon which the Board actually

relied.” TQ Delta LLC v. CISCO Systems, Inc., 942 F.3d 1352, 1358 (Fed.

Cir. 2019) (quotations omitted).

       3. Liquidia attempts to recast its distribution theory as a dispute

about reply “evidence,” but its best case squarely supports UTC. Liquidia

relies on Hulu LLC v. Sound View Innovations, LLC, No. IPR2018-01039,

2019 WL 7000067, at *6 (PTAB Dec. 20, 2019) (Precedential Opinion

Panel) for the proposition that a petitioner may submit reply evidence in

response to a patent owner’s prior art challenge. However, new evidence

can be submitted only if it “does not constitute ‘changing theories after

filing the petition.’” Appx0010 (quoting Hulu LLC, 2019 WL 7000067, at

*6).

       Here, the Board determined only that “[t]he argument that

Voswinckel JESC was publicly presented is not a change in theory from

the Petition, because Petitioner presented this argument in the Petition.”

Appx0010 (citing Appx0133) (emphasis added). Notably, the Board made

no similar finding for JAHA—nor could it—because, again, the Petition



                                     9
never argued that JAHA was publicly “presented,” much less

“distributed” via “abstract books.” For JAHA the Petition was silent on

any public accessibility theory other than having been “published in the

Journal of the American Heart Association on October 26, 2004.”

Appx0135. On this point, there can be no doubt. The Board explicitly

determined that the only “argument[] made by Petitioner” concerning

JAHA that was “not untimely” was “(3) that Voswinckel JAHA was

referenced in a publicly accessible document,” not that it was (1)

“presented publicly” like JESC. Appx0010. 3 The Board conclusively

recognized that any other public accessibility theory for JAHA was

“untimely.” 4 Liquidia’s broad assertion that the FWD “found” that there

“was not a change in theory” is flatly wrong. RB33.




3 Liquidia never offered any evidence of conference presentation for either

JAHA or JESC. Liquidia argues that the Board found “specific evidence”
that JESC and JAHA were “publicly presented.” RB41. Liquidia is
wrong.     The Board concluded only that “both references were
distributed.” Appx0061.

4 Liquidia’s reliance on Telefonaktiebolaget and Belden is misplaced.
RB34. Neither case permits completely changing theories after filing a
petition.


                                    10
     For these same reasons, Liquidia’s complaint that UTC does not

cite any case where “a petitioner is precluded from subsequently

presenting additional evidence in support of a public accessibility

argument first raised in the petition” (RB35) is a red herring. UTC does

not take issue with reply evidence submitted to support a theory “first

raised in the petition.” The issue is reliance on a theory that Liquidia

never raised in its Petition. BB30-36. The law is clear:

           The opportunity to submit additional evidence
           does not allow a petitioner to completely reopen
           the record, by, for example, changing theories after
           filing a petition. See Intelligent Bio-Sys., Inc. v.
           Illumina Cambridge, Ltd., 821 F.3d 1359, 1369-70
           (Fed. Cir. 2016) (affirming Board discretion to
           deny entry of petitioner’s reply brief that
           contained an improper new unpatentability theory
           and evidence, citing, among other things, §
           312(a)(3)); see also CTPG at 74 (“‘Respond,’ in the
           context of 37 C.F.R. § 42.23(b), does not mean
           proceed in a new direction with a new approach as
           compared to the positions taken in a prior filing.”).

Hulu LLC, 2019 WL 7000067, at *6. Because Liquidia never raised a

distribution-by-abstract-book theory of public accessibility in the

Petition, the Board was foreclosed from that “new approach.” Id.; BB30-

36. The Board’s decisions should be reversed.




                                    11
     At minimum, the Board erred by determining that JAHA and JESC

were § 102(b) prior art based on evidence first advanced in Liquidia’s

reply without affording UTC an opportunity to submit contrary evidence.

UTC moved to submit evidence that would rebut this new argument, but

UTC’s motion was denied.        BB25-26, 36-37.     This APA violation

mandates, at least, a remand. See In re NuVasive, Inc., 841 F.3d 966,

970 (Fed. Cir. 2016).

           B.    The Board’s determination that JAHA and JESC
                 were “distributed” in not-in-evidence “abstract
                 books” is also not supported by substantial
                 evidence.

     The Board’s decision is unprecedented: never before has the Board

or this Court determined that an asserted reference was publicly

available based (1) on a different document never seen and not-in-

evidence, and (2) without any evidence from a declarant, or otherwise,

establishing that the exact same information relied on to invalidate a

patent was actually publicly disclosed. See, e.g., Hamamatsu Photonics

K.K. v. Semicaps Pte Ltd., IPR2017-02110 (PTAB Mar. 18, 2019) (denying

on all grounds where Petitioner did not produce “the exact reference” or

prove the “article before us and asserted in Petitioner’s grounds was the

same article allegedly distributed at the conference”). Similarly, here,


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there is no evidence that the “abstract books” relied on by the Board are

the “exact” same as the JESC and JAHA references cited in the Petition.

      Rather than point to such evidence, Liquidia asserts that other

evidence not relied on by the Board amounts to substantial evidence.

Liquidia’s attempt to change tack is futile. See Alacritech, Inc. v. Intel

Corp., 966 F.3d 1367, 1372–73 (Fed. Cir. 2020) (“Insistence that the

substantial evidence standard requires us to affirm so long as there is

evidentiary support in the record, even if the support was not specifically

cited by the Board is a fundamentally incorrect statement of the law.”)

(cleaned up). For example, Liquidia cites “2004 date-stamped journals

from reputable libraries.” RB38. But the Board correctly rejected that

theory of public accessibility. Appx0011-Appx0012 (relying instead on

“research aids” to establish public accessibility).   Liquidia presented

nearly 100 pages of argument and expert opinions regarding the alleged

indexing of JAHA/JESC but could not establish how the hard-to-find-to-

this-day journal supplements could have been accessed by a POSA prior

to the ’793 patent’s critical date.

      Liquidia argues that UTC “ignores the numerous other sources of

evidence cited by the Board” (RB38), but that evidence is not probative of



                                      13
abstract book existence and distribution.     For example, the rejected

theory that JESC and JAHA were “published” in journal supplements

says nothing about whether different documents, i.e. abstract books, were

actually distributed and what they disclosed. Liquidia argues that the

journals establish that JESC and JAHA were “presented” on “Sunday 29

August 2004” and “November 10, 2004.” 5 This attempt to shoehorn the

Board’s distribution finding into a presentation theory is unavailing. The

Board made no findings concerning whether the abstracts were

“presented.” RB39. Liquidia further points to the size and nature of the

conference sessions, the types of attendees and expectations of

confidentiality, but none of this speaks to the Board’s error: relying on




5  Liquidia argues that the October 2004 date on the JAHA journal
supplement “is consistent” with the later date, November 2004, of the
AHA conference. RB42. Liquidia is wrong. The Board did not find that
JAHA was distributed “prior to the conference.” Id. Rather, the Board
decided “the abstract book” would have been provided to attendees “at
Scientific Sessions 2004.” Compare Appx0061 (finding “JAHA was a
printed publication as of the date of the conference”) with Appx0059
(finding JESC “distributed . . . before or at the time of the ESC Congress
2004”) (emphases added). The discrepancy between the Petition’s date of
public accessibility (October) and the date relied on by the Board
(November) further evinces the novelty of the Board’s rationale.


                                   14
speculation to presume that physical “abstract books”—matching JESC

and JAHA in substance—were “distributed” to conference attendees.

     Notably, Liquidia’s library sciences expert did not identify any

evidence of “abstract books” having been distributed at the conferences.

To the extent that the “abstract books” exist—and there is no non-

speculative evidence that they do—they have never been seen by any

witness in this proceeding and their contents have not been corroborated.

Liquidia says that JESC was “excerpted” from the hypothetical “abstract

book” (RB 14), but no witness made this blind leap on which the Board’s

decision relies.   Appx0059, Appx0061.         The Board relies on only

speculation from two individuals that have no actual knowledge

concerning what they believe “would have” occurred. 6

     It is not “hyperbole” to ring the alarm. RB41. The Board relied on

Nobel Biocare for the proposition that “distribution” at a conference may

constitute   sufficient   dissemination   to   show   public   accessibility.


6 Liquidia apparently disagrees that “[i]t is well established that
speculation does not constitute ‘substantial evidence.’” RB38 n.6. This
black letter law is beyond dispute. See, e.g., OSI Pharms., LLC v. Apotex
Inc., 939 F.3d 1375, 1382 (Fed. Cir. 2019) (“‘Mere speculation’ is not
substantial evidence.”) (quoting Intellectual Ventures I LLC v. Motorola
Mobility LLC, 870 F.3d 1320, 1331 (Fed. Cir. 2017)).


                                    15
Appx0057. But in Nobel, “the actual copy of the ABT Catalog” “obtained”

at the conference was in evidence (Appx7972-Appx8034), corroborated by

“specific details” of receipt, and the catalog had “identical pages” to those

asserted as prior art. Appx7914-Appx7971. Nobel Biocare Services AG

v. Instradent USA, Inc., 903 F.3d 1365, 1376-1378 (Fed. Cir. 2018).

Similarly, the Board relied on Medtronic where the actual copy of the

“Video and Slides” at-issue were in evidence (Appx7881-Appx7913), and

the only question was “whether such materials were sufficiently

disseminated at the time of their distribution at the conferences.”

Medtronic, Inc. v. Barry, 891 F.3d 1368, 1381 (Fed. Cir. 2018).

Accordingly, courts assess “the facts and circumstances surrounding the

reference’s disclosure” to determine whether that undisputed disclosure

is legally sufficient to render the reference publicly accessible. Id. at

1380.

        Here, the parties dispute whether the “abstract books” actually

exist and what they would disclose if they did exist. Absent that proof,

sufficiency of public accessibility cannot be assessed. See Hamamatsu

Photonics, IPR2017-02110 (PTAB Mar. 18, 2019) (“[w]ithout adequate

proof from Petitioner that the . . . version relied on in the grounds was in



                                     16
existence as of the critical date, we do not reach the issue as to whether

such a document was sufficiently accessible under § 102(b).”). Otherwise,

this Court’s fact-bound precedent devolves into an unprecedented and

legally erroneous presumption of “public accessibility” for scientific

conferences.

     II.      The Board’s claim 1 obviousness decision is flawed.

              A.   The Board’s decision rests on impermissible
                   hindsight and is unsupported by substantial
                   evidence.

     What matters under the claims is the dose delivered to the patient.

The Board erroneously decided that the alleged prior art disclosed a

delivered dose of 15-90 µg of treprostinil based on an assumption: a POSA

would assume that “at least one milliliter” of solution was delivered in

JESC.      Appx0016-Appx0017.    No substantial evidence supports this

conclusion.    The Board simply followed the lead of Liquidia and its

experts in adopting a volume of solution that made for convenient math

and arrived at doses within the claimed range—archetype hindsight.

     In practice, nebulizers are loaded with some amount of drug

solution (fill volume), some portion of this fill volume is nebulized

(nebulized volume), and some portion of the nebulized volume is

delivered to the patient (delivered volume). JESC does not disclose its

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fill volume, much less its nebulized volume, and even if it did, that still

does not inform a POSA of the dose delivered. The Board did not rely on

any evidence concerning how a POSA would convert fill volumes or

nebulized volumes to the quantity of API delivered, as the API,

formulation, patient, method of use, and specific device all affect drug

delivery.   Appx5188    (114:22-115:5);     Appx4827-Appx4831,     ¶55-56.

Liquidia’s three bullets of alleged testimonial support (RB43) underscore

the flaws in the Board’s decision. Each relates to a different class of

evidence—fill/prescribed volume or nebulized volume—not delivered

treprostinil, as the claims require.

     First bullet, Dr. Gonda’s testimony: Liquidia raises the Board’s

citation (Appx0015) to Dr. Gonda, Liquidia’s “formulation” expert,

stating that “‘in May 2006 . . . nebulizers conventionally deliver[ed]

between 1 and 5 mL’ of solution.” RB43 (citing Appx1166, ¶56). But the

Board did not rely on Dr. Gonda at all. See Appx0016-Appx0017. Nor

should it have, as unsupported conclusory expert testimony is entitled to

no weight, and paragraph 56 relates only to “fill volumes” not “delivered”

treprostinil—a point admitted below and uncontested on appeal. See

Appx0478; BB45. Elsewhere Liquidia erroneously argues that Dr. Gonda



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“refers to nebulized volume”—which is “the same language the Board

cited” (RB45-46), but the Board relied on Dr. Hill for a “nebulize[d]”

volume (Appx0017 (citing Appx1054 ¶65)), not Dr. Gonda (who describes

fill volumes only, Appx5198-Appx5199), and neither is a “delivered” dose

as the claims require.

     Second bullet, Dr. Hill’s testimony:           Liquidia’s attempt to

redefine “nebulize (i.e., aerosolize liquid)” (RB17) to “‘nebulize’ (i.e.

deliver)” (RB18) (emphasis altered) is plainly incorrect. This wordplay

underscores the lack of evidence for what matters—delivered dose.

Treating “nebulize” as synonymous with “deliver” is also contradicted by

Dr. Hill’s opinion that a POSA would have understood that “‘nebulizers .

. . nebulize (i.e., aerosolize liquid).” RB43 (citing Appx1054, ¶65). The

amount of “aerosolize[d] liquid” is not the same as the amount “actual[ly]

delivered.” See Appx0014-Appx0015 (recognizing that the claim requires

the dose delivered); Appx4830-Appx4832.

     These technical facts are not disputed: first, a “fill volume” of

solution is loaded into the nebulizer7; second, only some of the fill volume


7 See Appx4767; Appx4817-Appx4818; Appx5362 (“Fill volume: the
volume of drug solution initially put into the nebuliser chamber”).


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is actually “nebulized” (i.e., aerosolized) leaving “dead volume” in the

nebulizer8; finally, only some of the aerosol is actually “delivered” to the

patient due to well-known, nebulizer-specific, inefficiencies9. UTC does

not attempt to “discredit” Dr. Hill. RB45. UTC simply takes him at his

word: Dr. Hill explicitly testified about the amount of liquid

“aerosolize[d],” not delivered. Appx1054.

     Neither the Board’s reasoning nor the evidence it cites provides a

discernable rationale for how “to the extent that something less than the

entire fill volume was delivered to the patient . . . the actual delivered

solution volume [was] at least one milliliter.”       Appx0016-Appx0017

(emphasis added). In the place of “delivery” evidence, the Board only

relies on conclusory say-so concerning distinct “fill” and “nebulized”

volumes. Dr. Hill’s testimony does not help.




8 See Appx4767; Appx5028-Appx5029              (144:21-145:5);   Appx4761-
Appx4762; Appx5033 (149:8-12).

9  See Appx4818, ¶40; Appx5188-Appx5189 (114:23-115:5); Appx2403
(“like all other nebulized treatments, the amount delivered to the lungs
will depend on patient factors”); Appx4826, ¶52 (citing Appx5159 (85:9-
14); Appx7363-Appx7364).


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     Dr. Hill explicitly “assumes” that “at least 1 mL” of liquid would be

aerosolized and then “[a]ssum[es] at least 1 mL of volume for delivery.”

Appx1054, ¶65 (emphasis added). Thus, Dr. Hill assumes that the entire

fill volume is delivered to the patient—100% efficiency with no loss. Dr.

Hill’s assumption is based on Dr. Gonda’s “fill volumes” assumption—

that “at least 1 mL” would be filled. Dr. Hill relied on Dr. Gonda’s opinion

without reviewing the basis of that opinion.          Appx5027 (143:2-7);

Appx5017 (133:6-22).       Uninformed expert testimony—assumption

piggybacked on assumption—is not substantial evidence.

     Liquidia’s allegation that UTC “misrepresents” Dr. Hill’s testimony

for not acknowledging his “own practice” is false and not well taken.

RB46; see BB48 (addressing Dr Hill’s “own practice”). First, Dr. Hill only

cites Dr. Gonda’s unsupported declaration for the proposition that

“nebulizers at the time were known to nebulize (i.e., aerosolize liquid) at

least [1 mL] volume.” Appx1054, ¶65. Dr. Hill cited his “own practice”

for a different point, i.e., “prescribed volumes.”     But the prescribed

volume is simply the fill volume (mL), not the amount of API (µg) actually




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“delivered.”10   The Board correctly did not rely on Dr. Hill’s “own

experience,” which is irrelevant to the delivered dose.

     Liquidia argues—without citation—that Dr. Hill offered evidence

“of nebulizer delivered volumes prescribed to patients in practice.” RB46

(emphasis added). Liquidia has no citation because Dr. Hill offered no

such opinion. Dr. Hill is a physician, not a technical expert on nebulizer

inefficiencies that dictate actual delivery, which is why he “assum[ed]”

the volume delivered rather than opining on it. See Appx1054 (citing

personal knowledge relating to “prescribed” volumes only and relying on

Dr. Gonda for the amount “nebulizers at the time were known to nebulize

(i.e., aerosolize liquid)”). Liquidia’s bootstrapping of paragraph 66 to its

second bullet (RB43) is also misplaced. The Board did not acknowledge

paragraph 66, and it says nothing about how a POSA would understand

the amount of treprostinil “delivered” in JESC.

     Finally, Dr. Hill’s uncredited and conclusory testimony that “I

prescribed volumes of a [sic] least 1mL for inhalation therapy using




10 See, e.g., Appx1166 n.4 (consistently describing “Dosage and
Administration” mL fill volumes); BB44-45; Appx3925; Appx5190 (116:4-
19); Appx1784; Appx2403; Appx2231-Appx2232.


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nebulizers,” lacks any nexus to the claimed drug substance (treprostinil),

dosing (15-90 µg), inhalation time (1-3 breaths), or even relevant time

(2006).   Appx1054; Appx4779-Apx4780; see also Appx5188-Appx5189

(114:23-115:5). Liquidia’s claim (RB46) that there is no “legal or factual

requirement” for Dr. Hill to have done so is plainly wrong. See TQ Delta,

942 F.3d at 1358 (“Conclusory expert testimony does not qualify as

substantial evidence.”). Liquidia’s cases (RB46-47) concerning “[e]xpert

experience” being “frequently credited” are inapt but also irrelevant

because the Board did not credit Dr. Hill’s flawed “own experience”

testimony.

     Third bullet, Dr. Waxman’s testimony: Liquidia cites to UTC’s

expert Dr. Waxman’s deposition testimony, again conflating “fill

volumes” or “prescribed volumes” with the amount of treprostinil

“delivered.”

     Dr. Waxman never testified that “a physician would have no

expectation of the amount of drug delivered to his patient.”       RB47.

Instead, Dr. Waxman, testified that despite his “20 years of practice”

(id.), he would not know how much treprostinil was delivered “because

some of it adheres to the vehicle” and “you see that mist coming out when



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they breath out so you really don’t know.” Appx3186 (154:2-17). Neither

the Board nor Liquidia’s experts accounted for these real-world technical

delivery complexities. Liquidia’s argument that “[t]he Board specifically

addressed UTC’s concerns by citing consistent expert [physician]

testimony that neither had ever delivered less than 1mL to a patient”

(id.) is unfounded and depends on attorney wordplay that conflates

physician fill/prescribed volumes with delivered doses. As Dr. Waxman

explained in his unrebutted testimony, they are not the same. Appx3186;

see also Appx5190 (116:4-19); Appx4818.

     At bottom, the Board rejected the majority of Liquidia’s evidence.

The evidence that the Board relied on relates only to two sentences

concerning fill volumes (Gonda), volumes of nebulized/aerosolized liquid

(Hill), and physician prescribed volumes (Hill/Waxman); not the amount

of treprostinil “delivered” to a patient as required by the claims. Because

the Board’s decision is not supported by substantial evidence, the Court

should reverse.

           B.     Liquidia—like the Board—overlooks UTC’s
                  evidence of unexpected results.

     Liquidia defends the Board’s opinion by arguing that UTC only

presented “unexpected results” compared to “iloprost” and waived any


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argument comparing to the closest alleged prior art: JESC and JAHA

(which involve treprostinil). Both arguments fail for the same reason—

UTC plainly argued unexpected results relative to inhaled treprostinil.

     The Patent Owner Response dedicated an entire section to

“Unexpected Results” and specifically argued that “high doses of

treprostinil were known in the art to produce dose-limiting side effects.

As a result, a POSA would not have expected [high] dosage ranges

delivered in just a few breaths to be well tolerated.” Appx0416 (citing

Appx5244, Appx5246-Appx5248) (emphasis added); see also Appx0367

(noting “the surprising result” that “the time of inhalation could be

reduced” to “single-breath” administration even though JESC showed

increased side effects at higher concentrations); Appx0381-Appx0382

(arguing that “JESC teaches away from titrating up to higher drug

concentrations over an even shorter time interval” because “[a]t higher

doses, local and systemic side effects may occur”).

     UTC also cited Dr. Seeger’s declaration where he stated that the

unexpected results presented in the ’793 patent’s specification were “not

reported in either [JESC or JAHA] (Exs. 1007 and 1008),” explaining that

the unexpected slower time to reach “peak plasma concentration” made



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it possible “to avoid major systemic side effects even when high total

inhalation doses are used.” Appx3983.

     Liquidia argued in its Reply that the closest treprostinil prior art

“discloses either no side effects, mild and transient side effects, or that

the drug was ‘safe, and well tolerated’ in the claimed dose range.”

Appx0492.     In direct response, UTC’s Sur-Reply reiterated that

“secondary considerations rebut Petitioner’s grounds” and that “[e]ven if

EX1007-EX1008 [i.e., JESC and JAHA] were prior art, the ability to

administer treprostinil at high doses in only 1-3 breaths and with fewer

side effects was unexpected.”     Appx0584-Appx0585 (citing Appx4796

(citing Appx5244-Appx5247)).

     To support its narrative that UTC’s only “evidence compares

treprostinil to iloprost”, Liquidia dedicates an entire page to quotes that

aggressively exclude UTC’s JESC- and JAHA-related evidence. RB49.

For example, in addition to the evidence above, Liquidia cites Dr.

Waxman’s declaration (id. citing Appx4795-Appx4796) but omits his

testimony that it was a “surprising discovery that therapeutically

effective, high doses of treprostinil could be delivered to a patient in a

shorter period of time with fewer side effects,” given that “higher doses



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in Voswinckel JESC were also found to include more side effects than the

16 microgram/mL dose.” Appx4795, ¶101-102 (emphasis added); see also

Appx4797 (citing Appx5244, Appx5246-Appx5248) (inventor declaration

stating that “it was unexpected that going to an even shorter interval

than 1 minute to the claimed ‘1 to 3 breaths’ would lead to better

results”).

      The Board’s failure to consider UTC’s unexpected results

arguments mandates a remand, so the Board can consider UTC’s

evidence of non-obviousness in the first instance.

      III. The Board’s dry powder dependent claim obviousness
           decision is legally flawed and unsupported by
           substantial evidence.

             A.   UTC contested the non-obviousness of the
                  dependent dry powder claims.

      Despite UTC having specifically challenged the expectation of

success in achieving the inventions of dependent dry powder claims 4, 6,

and 7, Liquidia cries “waiver.” RB51-52. Liquidia is wrong.

      UTC offered several pages of arguments specific to the dry powder

claims in the POR: a POSA would not find the dependent dry powder

claims obvious because “the level of unpredictability in the art was high,”

“a POSA would be unable to formulate a treprostinil powder suitable for


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administration via a dry powder inhaler for PH patients without

excessive experimentation,” “treprostinil would be more challenging

tha[n] other drugs used with DPIs,” and “powders present unique

challenges.”    Appx0399-Appx0401.      UTC made clear that for the

dependent dry powder claims there is “absolutely nothing” in the ’212

patent, JAHA, and JESC “suggesting or directing the person of skill in

the art that they would be able to succeed.” Appx0814. The Board found

no waiver.     In fact, the Board spent several pages analyzing UTC’s

reasonable expectation of success arguments. See Hollmer v. Harari, 681

F.3d 1351, 1356 n.3 (Fed. Cir. 2012) (“Where the Board applies a legal

standard that governs its holding, the propriety of that standard is

properly before us on appeal.”).

     Liquidia tries to color UTC’s “3 pages” of argument as insufficient.

RB50. This is a bizarre argument given that Liquidia addressed each

dependent dry powder claim with only a single sentence without

addressing reasonable expectation of success for these claims in any way.

See BB22, 66. UTC not only argued that Liquidia’s “conclusory evidence”

was insufficient, Appx0401, but offered evidence detailing why, e.g., “a

POSA would be unable to formulate a treprostinil powder suitable for



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administration via a dry powder inhaler for PH patients.” Appx0400

(citing Appx5940-Appx5966).

     Liquidia also argues waiver concerning the Board’s “fail[ure] to

consider ‘all of the limitations of the dry-powder dependent claims.’”

RB51. UTC cannot waive arguments about errors that first surfaced in

the Board’s Final Written Decision. See, e.g., Gensetix, Inc. v. Bd. of

Regents of Univ. of Tex. Sys., 966 F.3d 1316, 1325 n.8 (Fed. Cir. 2020)

(concluding that “a party cannot waive objection to a court’s failure to

apply the correct legal standard to the question presented.”). And UTC

separately addressed the dry powder dependent claims by arguing that a

POSA would have to engage in “excessive” experimentation to develop a

“treprostinil powder formulation and corresponding dry powder inhaler

that achieve effective administration as required by claims 1, 4, 6, and 7

of the ’793 patent.” Appx0400.

     Liquidia repeatedly suggests that UTC solely took issue with Dr.

Gonda’s “credibility.” RB(iii), 2, 21, 50-53. UTC never questioned Dr.

Gonda’s “credibility.” Rather, UTC argued that Dr. Gonda’s testimony in

a related co-pending proceeding destroys any reasonable expectation of

success.   The Board refused to consider this record evidence solely



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because it was offered in the context of enablement rather than

obviousness. Appx0032-Appx0033. This was reversible error.

     Liquidia says that UTC did not make additional arguments “in its

Sur-Reply,” but that is irrelevant for two reasons. First, Liquidia did not

offer any rebuttal arguments or evidence in its reply. Second, UTC

already submitted evidence available—unimpeached and uncontested

sworn statements from Liquidia’s own expert that “a POSA would be

unable to formulate a treprostinil powder suitable for administration via

a dry powder inhaler for PH patients[,]” as required by the claims.

Appx5951.        Liquidia’s attempt to convert UTC’s extensive record

evidence into something other than “affirmative evidence” should be

rejected. RB51.

            B.     The Board legally erred and Liquidia’s response
                   confirms it.

     UTC’s opening brief detailed the Board’s fundamental legal errors

in assessing the non-obviousness of the dependent dry powder claims: (1)

failing to assess all of the referenced limitations of the dry-powder

dependent claims (BB51-53); (2) failing to treat the independent claims

as separate inventions (id.); (3) failing to consider the appropriate scope

of the claimed invention in evaluating the reasonable expectation of


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success (BB52); (4) failing to determine the scope and content of the prior

art (BB56-57); (5) failing to ascertain the differences between the prior

art and the claims at issue (id.); (6) reliance on Dr. Gonda’s conclusory

statement directed to the ’212 patent instead of the challenged ’793

patent (BB53-55); and (7) reliance on publications (Atkins and Stein) not

asserted   as   grounds   for   unpatentability   (BB54).     Each   error

independently warrants reversal. These errors flout statutory mandates

and run afoul of this Court’s binding precedent. BB51-52. And Liquidia

offers no substantive response to most of these arguments beyond the

“waiver” arguments addressed above.

     First, Liquidia argues that “the Board did analyze the dry powder

claims separately.” RB54; see also RB58-59.        But the Board never

mentioned, much less provided a reasoned analysis, for why a reasonable

expectation of success exists for delivering a therapeutically effective

single event dose of 15-90 µg of treprostinil in 1-3 breaths via dry powder

inhaler as the claims require. The law requires no less. BB51-52.

     Reliance on solution prior art (JESC and JAHA) to teach “the doses

of ’793 patent claim 1” for the dependent dry powder claims lays bare the

Board’s error. RB55 (emphasis added). The Board explicitly rejected



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Liquidia’s use of the ’212 patent to calculate claimed doses of dry powder.

BB57 (citing Appx0015).       The Board never further analyzed the

dependent claims combined with the dosing and delivery limitations of

their parent claims.   Thus, the Board expressly noted a hole in the

evidence, and never even tried to fill it.    It certainly did not assess

whether a POSA would expect solution dosing to be equivalent to dry

powder dosing, and the only record evidence is that dry powder delivery

would be “completely different” than solution delivery. Appx5953.

     Liquidia argues that “there was no issue that the Board needed to

address beyond the obviousness of the specific powder formulation

aspects of these claims.” RB55. This extraordinary argument attempts

to negate 35 U.S.C. § 112’s mandate that a dependent claim “shall be

construed to incorporate by reference all the limitations of the claim to

which it refers” (emphasis added) and this Court’s “well settled”

precedent that “each claim of a patent is entitled to a presumption of

validity and is to be treated as a complete and independent invention.”

Interconnect Planning Corp. v. Feil, 774 F.2d 1132, 1137 (Fed. Cir. 1985)

(citing 35 U.S.C. §§ 282, 288; Leeds & Catlin Co. v. Victor Talking Mach.

Co., 213 U.S. 301, 319 (1909)). Here, the Board erred by simply looking



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at whether the limitations of the dependent dry powder claims were

obvious in isolation, without considering them in combination with their

parent claim limitations. BB51-56.

     Second, Liquidia argues that the dosing of claim 1, and therefore

claims 4, 6, and 7, “has always come from JESC and JAHA” (RB57)—but

both only disclose dosing and delivery of solutions. Neither provides a

POSA any guidance on how to achieve a therapeutically effective single

event dose of 15-90 µg of treprostinil dry powder via dry powder inhaler

in 1-3 breaths. Liquidia cannot justify the Board’s erroneous application

of solution dosing/delivery and breath count references (JESC and JAHA)

directly to the dry powder invention without first analyzing the

“differences between the prior art” and the ’793 patent’s dependent dry

powder claims as required by Graham v. John Deere Co. of Kansas City,

383 U.S. 1, 17 (1966). RB56. Had the Board completed this foundational

step of obviousness analysis, its decision would have concluded that the

dry powder claims were non-obvious.

     Liquidia argues that “the ’212 patent’s disclosures and claims

bridge the gap from liquid to powder formulation for obviousness

purposes.”   RB57.   Yet the Board expressly disagreed.       Appx0014-



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Appx0015. The ’212 patent does not disclose any dosing/delivery that

could bridge this admitted technical “gap.”       Moreover, Dr. Gonda

testified—after considering the ’212 patent—that “no treprostinil powder

formulation suitable for delivery using a dry powder inhaler had been

developed or disclosed as of May 15, 2006.” Appx5949. Again, Liquidia

has no response to this unrebutted testimony from its own expert. See

BB68.

     While Liquidia’s ’212 patent stance is long on attorney argument,

it is short on citations to the Board’s decision. RB56-58. As the Board

noted, UTC agreed only that “the ’212 patent enables its own claims.”

App0033. And the claims of the ’212 patent are silent on dry powder

dosing/delivery (and therefore could not obviate those limitations of the

’793 patent’s dry powder claims):

           ‘[a] method for treating pulmonary hypertension
           in a mammal comprising delivering to said
           mammal an effective amount of [treprostinil] or its
           pharmaceutically acceptable salt or ester by
           inhalation,’ wherein the treprostinil ‘is inhaled in
           powder form comprising particles less than 10
           micrometers in diameter.’

Appx0033 (quoting ’212 patent claims 6 (14:9-12) and 9 (14:19-21)). Thus

the ’212 patent is insufficient to close the gap between alleged prior art



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and the ’793 patent’s requirement for delivery of a 15-90 µg dose of

treprostinil dry powder via dry powder inhaler in 1-3 breaths.

     The differences are especially meaningful when it is undisputed

that the ’212 patent describes administration of solution via

tracheostomy tube insertion in sheep which allowed for “direct

aerosolization of substances into the lung.” BB11-12; Appx5013 (129:3-

19). The Board understood the constraints of the ’212 patent and merely

concluded that it “presumably” would have rendered a POSA more likely

to expect success in achieving the “similar invention of claims 4, 6, and 7

of the ’793 patent.” Appx0033. This is a far cry from finding a POSA

would have a reasonable expectation of success in achieving all

limitations of the ’793 patent’s dependent claims including the dosing,

delivery, and breath count limitations with a dry powder inhaler.

           C.    The Board’s dry powder reasonable expectation
                 of success decision is unsupported by substantial
                 evidence.

     Liquidia also has little to say in response to UTC’s substantial

evidence arguments. Had the Board considered the “record as a whole”

and accounted for evidence that “detracts from [the] agency’s decision” as




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it must, no reasonable fact finder could conclude that the Board’s analysis

is supported by substantial evidence. TQ Delta, 942 F.3d at 1358.

     Liquidia’s rejoinder, putting aside its waiver arguments, rests

entirely on the Board “separat[ing] the two Gonda declarations” because

enablement and obviousness are “distinct inquiries.”        RB60.    Yet a

POSA’s understanding of the relevant facts relating to the state of dry

powder treprostinil art does not change just because in one instance they

are cited with regard to “enablement” and in another instance to

“obviousness”—and especially not when those facts are testified to by the

same person. The Board erred when it failed to consider and analyze the

facts as set forth by Dr. Gonda that detract from its decision.

     Liquidia’s remaining arguments are no more persuasive. Liquidia

lobs a red herring about requiring the combination of dry powder

elements to be found somewhere—anywhere—in the prior art as

“requir[ing] the ’212 patent to anticipate.” RB61. Not so. Liquidia simply

needed to prove that a person of skill in the art would have a reasonable

expectation of success in combining solution dosing, delivery, and breath

count prior art teachings with a dry powder formulation and dry powder

inhaler. Liquidia never offered such evidence, nor could it as its technical



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expert, Dr. Gonda, explained in excruciating detail why solution delivery

and dry powder delivery are “completely different.”            Appx5952-

Appx5953 (Dr. Gonda’s emphasis); see also Appx6267-Appx6268 (204:14-

205:11) (admitting a POSA would have to “invent” and “discover”

“techniques that would not have been known”); Appx6227 (43:16-24).

The Board’s decision is silent on the key issue of why a POSA would

expect that a treprostinil dry powder formulation-inhaler combination

could deliver 15-90 µg in 1-3 breaths based exclusively on solution

teachings. It thus comes as no surprise that the Board’s opinion, which

implicitly treats solution dosing/delivery prior art as equivalent to dry

powder dosing/delivery, is not supported by substantial evidence.

     For the dependent dry powder claims, a remand would be futile.

Liquidia’s conclusory evidence does not amount to substantial evidence

and has no nexus to the proper scope of the dry powder inventions. UTC’s

evidence—via Dr. Gonda’s sworn statements concerning a POSA’s

understanding of the dry powder prior art as it relates specifically to the

’793 patent’s claim limitations as of the priority date—stands unrebutted.




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                           CONCLUSION

     The Court should reverse the Board’s decision finding claims 1-8 of

the ’793 patent unpatentable.

                                   Respectfully submitted,

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Dated: November 2, 2023




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                    CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(a)(7)(C), the

undersigned counsel for United Therapeutics Corporation certifies that

this brief:

      (i)     complies with the type-volume limitation of Rule 32(a)(7)(B)

because it contains 6,995 words, including footnotes and excluding the

parts of the brief exempted by Rule 32(a)(7)(B)(iii); and

      (ii)    complies with the typeface requirements of Rule 32(a)(5) and

the type style requirements of Rule 32(a)(6) because it has been prepared

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in a size equivalent to 14 points or larger.

Dated: November 2, 2023            /s/ Douglas H. Carsten
                                   Douglas H. Carsten




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                    CERTIFICATE OF SERVICE

     The undersigned counsel hereby certifies that on November 2, 2023,

the foregoing document was filed using the Court’s CM/ECF system,

which will send notice of such filing to all registered CM/ECF users.


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                                 Douglas H. Carsten




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